            Case 2:20-cr-00030-RMP        ECF No. 35       filed 10/27/21      PageID.122 Page 1 of 2
 PROB 12C                                                                            Report Date: October 27, 2021
(6/16)
                                                                                                FILED IN THE
                                       United States District Court                         U.S. DISTRICT COURT
                                                                                      EASTERN DISTRICT OF WASHINGTON


                                                       for the
                                                                                        Oct 27, 2021
                                        Eastern District of Washington                     SEAN F. MCAVOY, CLERK




                    Petition for Warrant or Summons for Offender Under Supervision


 Name of Offender: Jeremy Michael Hannum                    Case Number: 0980 2:20CR00030-RMP-1
 Address of Offender:                               Spokane Valley, WA 99216
 Name of Sentencing Judicial Officer: The Honorable Donald Malloy, U.S. District Judge
 Name of Supervising Judicial Officer: The Honorable Rosanna Malouf Peterson, Senior U.S. District Judge
 Date of Original Sentence: October 9, 2015
 Original Offense:        Felon in Possession of a Firearm, 18 U.S.C. § 922(g)(1)
 Original Sentence:       Prison - 63 months                Type of Supervision: Supervised Release
                          TSR - 36 months
 Asst. U.S. Attorney:     Richard R. Barker                 Date Supervision Commenced: November 21, 2019
 Defense Attorney:        Kathryn Patricia Lucido           Date Supervision Expires: November 20, 2022


                                         PETITIONING THE COURT

To incorporate the violation(s) contained in this petition in future proceedings with the violation(s) previously
reported to the Court on 10/08/2021 and 10/13/2021.

The probation officer believes that the offender has violated the following condition(s) of supervision:


Violation Number        Nature of Noncompliance

             3          Mandatory Condition #3: The defendant shall not unlawfully possess a controlled
                        substance. The defendant shall refrain from any unlawful use of a controlled substance. The
                        defendant shall submit to one drug test within 15 days of release from imprisonment and at
                        least two periodic drug tests thereafter, as determined by the court.

                        Supporting Evidence: It is alleged that Mr. Hannum violated the conditions of his
                        supervised release by using methamphetamine on or about October 18, 2021.

                        On November 25, 2019, Mr. Hannum participated in a supervision intake at the U.S.
                        Probation Office. On that date, the mandatory, standard and special conditions of supervised
                        release were reviewed. Mr. Hannum signed a copy of the conditions of supervision
                        acknowledging an understanding of his conditions.

                        On October 25, 2021, Mr. Hannum provided a urinalysis that tested presumptive positive for
                        methamphetamine at Pioneer Human Services. Thereafter, Mr. Hannum signed a document,
                        stating he last used methamphetamine on or about October 18, 2021.
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